                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GREGORY V. MANCO, Ph.D,                      :       CIVIL ACTION
    Plaintiff,                               :
                                             :
      v.                                     :       NO. 5:22-cv-00285-JLS
                                             :
ST. JOSEPH’S UNIVERSITY, et al.,             :
      Defendants.                            :

                                            ORDER

      AND NOW, this 6th day of March, 2025, after a hearing on discovery issues and a status

conference, it is hereby ORDERED as follows:

      1. Any documents, exhibits or recordings to be shown to witnesses at their depositions

           must be produced at least 48 hours prior to their deposition;

      2. The deadline for fact discovery shall be extended 60 days to May 14, 2025;

      3. Defendants’ counsel shall file their stated position on Plaintiff’s motion for

           interlocutory appeal within 5 days; and

      4. An in-person status conference shall be held on Thursday, May 8, 2025 at 10:00

           a.m. at the Reading Station, the Gateway Building, 201 Penn Street, Fifth Floor,

           Reading, Pennsylvania.



                                             BY THE COURT:


                                             /s/ Jeffrey L. Schmehl
                                             Jeffrey L. Schmehl, J.
